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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

CALYX ENERGY, LLC, WHITE STAR
PETROLEUM, LLC f/k/a AMERICAN ENERGY
– WOODFORD, LLC,
      Plaintiffs,
v.
TRIDENT STEEL CORPORATION,
KEVIN BECKMANN,
      Defendants.
And
TRIDENT STEEL CORPORATION,
      Third-Party Plaintiff,               Case No. CIV-14-551-R
v.
ACE INDUSTRIAL GROUP, INC,
AJU BESTEEL CO., AJU BESTEEL USA,
COMMERCIAL METALS COMPANY,
      Third-Party Defendants / Third-Party
      Plaintiffs,
v.
TUBULAR SERVICES, LLC,
      Third-Party Defendant.

                   PLAINTIFFS’ RESPONSE TO
    MOTION TO STRIKE THE ERRATA SHEET OF THOMAS M. SOUERS

       Plaintiffs Calyx Energy, LLC (“Calyx”) and White Star Petroleum, LLC (“White

Star”) (together, “Plaintiffs”) object to the Motion to Strike Errata Sheet of Thomas M.

Souers with Brief in Support [Dkt. #409] (“Motion”) filed herein by Third-Party

Defendants AJU Besteel Co., Ltd. (“AJU”) and CMC Cometals Steel (“CMC”)

(collectively, “Third-Party Defendants”). Third-Party Defendants’ Motion should be

denied for at least the following reasons: (1) at the outset of the deposition of Plaintiffs’

operational expert, Thomas M. Souers (“Mr. Souers”), counsel for Third-Party

Defendants instructed him “you can make any changes you wish to the transcript,”
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which specifically included “any substantive changes”; (2) Mr. Souers affirmatively

agreed to such instructions, and all parties also agreed by raising no objections (“Rule

30(e) Stipulation”), which Fed. R. Civ. P. 29 expressly permits; (3) the plain language of

Fed. R. Civ. P. 30(e) permits changes in substance to deposition testimony using errata

sheets; (4) the errata sheet corrected incomplete deposition testimony (“the data indicates

it’s a coupling failure”)1 by clarifying and pointing out additional, more precise data in a

business record of Plaintiffs, which all parties have had since April 1, 20152:

       I need to clarify that the Post Frac Daily Report indicates that 6215'
       correlates to a casing collar. The Casing Tally data, which is more precise,
       indicates 6215 is casing joint 105, where the failure occurred.3

(5) the errata sheet does not alter the ultimate opinions of Mr. Souers regarding the

existence of the failure or the cause of the failure in the casing string of the Robison 4-1

MH; (6) the errata sheet is not a “sham affidavit”; (7) Plaintiffs were deprived of the right

to cross-examine Mr. Souers at his deposition through no fault of their own; and (8) the

errata sheet was not submitted after or in response to any dispositive or other substantive

motion. Based on all the facts and law, the Motion should be denied.

                                       OVERVIEW

       Experts of Defendants and Third-Party Defendants have admitted that there was a

casing failure in all four of Plaintiffs’ damaged wells—including in the Robison. These

experts agree the failure in the Robison occurred at a depth of 6214'. Plaintiffs’

operational expert, Mr. Souers, performed a “differential analysis,” and as a result, Mr.
1
  Exhibit “1” (Excerpts of Mr. Souers Deposition Transcript), 125:6-9.
2
  The same documents were also produced August 12, 2006, as part of Mr. Souers’ file.
3
  Exhibit “2” (Mr. Souers’ Errata Sheet).


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Souers determined, inter alia: (1) there was a casing failure in the casing string of the

Robison; (2) there were no operational or environmental conditions that caused the

Robison failure; and (3) the documented history of Trident Steel Corporation’s

(“Trident”) and Kevin Beckmann’s (“Beckmann”) supplying defective casing resulting in

multiple failures in other operators’ wells pointed to that as the cause of the Robison

failure. These ultimate expert opinions of Mr. Souers have not changed.

       The sole issue in the Motion is the errata sheet’s correcting reference to a notation

made in one of Plaintiffs’ business records and the more precise data contained in another

of Plaintiffs’ business records. Mr. Souers’ expert report and both of Plaintiffs’ business

records contain information about the admitted failure in the Robison at 6214'. Mr.

Souers’ errata sheet identifies BOTH documents and the information they contain. Mr.

Souers’ reference in his deposition to “data” was incomplete, and therefore, a

clarification to identify the complete data was necessary. Based on the more precise

Casing Tally, Mr. Souers corrected his testimony — the admitted failure in the Robison

at 6214' was in the casing joint.

       The deposition was conducted under the Rule 30(e) Stipulation. This stipulation

clearly invites and permits even substantive changes on Mr. Souers’ errata sheet, and it

supports denial of the Motion. Both the deprivation of Plaintiffs’ counsel to cross-

examine Mr. Souers during his deposition and the submission of the errata sheet

BEFORE any dispositive or substantive motions were filed further support denial of the

Motion. The Motion should be denied.




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                                     BACKGROUND

       Mr. Souers was engaged to determine if there were failures and whether there

were causes of the well failures other than defects in the casing string itself.4 Mr. Souers

evaluated and analyzed whether drilling, completion operations or environmental

conditions caused the multiple casing string failures suffered by Plaintiffs5 as opposed to

Trident’s and Beckmann’s on-going fraudulent, bad-faith sale and delivery of defective

casing. Mr. Souers also opined as to repair and remediation damages and the value of

hydrocarbon bearing strata lost due to the failures.6

       The casing string is comprised of casing joints, couplings, and threading. Upon

completing his analysis, Mr. Souers ruled out drilling, completion operations, and

environmental conditions as the cause of the failure in the subject wells, including the

Robison:

       If Calyx’s drilling or completion methods contributed to the failures, it
       seems implausible that the other pipe supplier, Hunter Steel, would have
       had such a small failure rate compared to Trident. With the consistent
       drilling and completion practices used by Calyx, any issues that could have
       contributed to casing and/or coupling failures in the wells with Trident
       casing and couplings would be spread across both suppliers relatively
       equally. This is not the case. Furthermore, downhole environmental issues
       did not contribute to the failures either, for the same reasoning. With my
       intent to limit the wells to a specific geographic area, the environmental
       issues, if any existed, would also impact both pipe suppliers equally. In
       summary, and based on my review of all the information, it is my expert
       opinion that nothing in regards to drilling activity, running and cementing
       casing activity, completion operations including fracture treatment
       operations, nor downhole environmental conditions, contributed to the

4
  Exhibit “3” (Expert Report of Thomas M. Souers), p. 1.
5
  Ex. 3, p. 1.
6
  Ex. 3, p. 1.


                                                  4
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       casing and/or coupling failures observed in the five wells identified in
       this report.

Ex. 3, p. 13 (Emphasis added). Mr. Souers further opined concerning the loss of

hydrocarbon bearing strata, inter alia, with respect to the Robison 4-1 MH:

       The Robison 4-1 lost six stages totaling a loss of 919 ft of horizontal
       section. These six stages were lost due to a casing and/or coupling failure
       located at 6,214 ft MD.

Ex. 3, p. 14 (Emphasis added).

       In Mr. Souers’ report and in his deposition testimony, Mr. Souers did identify

different components of the casing string.7 In his deposition, with respect to the Robison,

Mr. Souers referred to incomplete data indicating “an apparent coupling failure in the

Robison.”8 In his errata sheet, Mr. Souers clarified as to the complete data in Plaintiffs’

records, which made his deposition statements about what the data indicates incomplete.9

       One of Plaintiffs’ business records used the imprecise term “correlated with a

casing collar” in regard to the casing string at the relevant depth:




Exhibit “4” hereto (Excerpt of Post Frac Daily Report, Bates No. Calyx & AEW 63820 -

CONFIDENTIAL) (“Daily Report”) (filed under seal). However, the other, more precise

business record indicates the top of casing joint 105 at a depth of 6212.02'. Exhibit “5”

(Excerpt of Casing Tally, Bates No. Calyx & AEW 63880 - CONFIDENTIAL) (“Casing

Tally”) (filed under seal). This means the coupling on the top, or “mill end,” of joint 105

7
  Ex. 3, p. 3, and Ex. 1, 192:20-193:9.
8
  Ex. 1, 193:17-194:3.
9
  Ex. 2.


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would not have extended deep enough to reach the failure depth of 6214'. At less than

10" in height, the coupling could not have extended deeper than 6213' from the top of

joint 105. This difference in the records exists whether Mr. Souers points it out or not.

       Mr. Souers’ citation to the two notations in two of Plaintiffs’ business records is

absolutely not a surprise to any of the parties. Mr. Souers’ cited and produced both

records with his expert report on August 12, 2016 – months prior to his deposition.

       Counsel for CMC/AJU began Mr. Souers’ deposition with the Rule 30(e)

Stipulation:

       The court reporter is taking down everything that's said today, and at some
       point you probably have seen in the past you'll get a booklet, and you'll
       have an opportunity for your reading enjoyment to go through it. At that
       point you can make any changes you wish to the transcript, but I need
       to caution you that you should give your best testimony today. If there's
       any substantive changes you make to the transcript, for instance,
       change the light was red to the light was green could be commented
       upon by myself or any other attorney in this case in an attempt to
       impugn your credibility. Do you understand that?

Ex. 1, 10:11-24. The Rule 30(e) Stipulation is permitted by Rule 29 and is consistent

with the plain language of Rule 30(e). Whether Mr. Souers’ errata sheet contains a

“clarification” or even a “substantive change,” it is permitted and proper pursuant to the

Rule 30(e) Stipulation, the plain language of the rule, and the majority of courts’

interpretation of that rule.

       Mr. Souers’ errata sheet was delivered January 13, 2017. Not a single dispositive

or substantial motion had been filed or was pending in the case. Clearly, Mr. Souers’

errata sheet was not a “sham affidavit” filed in response to or in an attempt to avoid any




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dispositive or substantive motion.

          Plaintiffs’ counsel was deprived of their right under Fed. R. Civ. P. 30(c)(1) to

cross-examine Mr. Souers before the conclusion of his deposition. Cross-examination

would have reminded Mr. Souers of the complete information relating to the Robison

failure at 6214′, and this business record issue would have been addressed. Plaintiffs

were deprived of the opportunity to cross-examine Mr. Souers when Third-Party

Defendants demanded that the deposition be adjourned and concluded at a later, agreed

time.

          Mr. Souers’ deposition should have been concluded on October 21, 2016. The

only reason that did not happen was due to the conduct of counsel for Defendants and

Third-Party Defendants.

          Third-Party Defendants’ counsel noticed the deposition for 9:00 a.m. The witness

and all counsel were present and ready to go at 9:00 a.m. but for one thing—opposing

counsel neglected to schedule a court reporter for the deposition they had noticed. After a

delay of more than an hour, the deposition commenced at 10:14 a.m.10

          Completing the 7-hour deposition in the same day was not a problem for the

witness or Plaintiffs’ counsel. Conversely, opposing counsel had a flight to catch and

demanded the deposition be adjourned and continued. The deposition adjourned at 5:56

p.m. pursuant to another stipulation of all parties.11




10
     Ex. 1, 6:1-9.
11
     Ex. 1, 217:15-218:3.


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       All parties stipulated on October 21, 2016, on the record, that: (1) the continuation

date would be set within the remaining discovery period based on Mr. Souers’ limited

availability; (2) no request would be made to exceed the 7-hour statutory limit; and

(3) the continued deposition would be conducted telephonically.12 Based on such

stipulation, Plaintiffs agreed to accommodate the demands of Defendants and Third-Party

Defendants, and the October 21, 2016 deposition was adjourned, not concluded, while

Defendants and Third-Party Defendants were still examining Mr. Souers:

       Ms. Fields: Perfect. Thank you. We will adjourn according to our
       agreement that we’ve put on the record.13

       Defendants and Third-Party Defendants did not pass the witness on October 21,

2016. As a result, Plaintiffs’ counsel advised opposing counsel that, consistent with

other multi-day depositions taken in this case, Mr. Souers would review his transcript

and provide an errata after conclusion of the deposition.14 No party objected to this

procedure.

       On December 12, 2016, Trident and Beckmann advised Plaintiffs that all parties

were in agreement with January 5, 2017, at 10:00 a.m. for the continuation of Mr. Souers’

deposition.15 Despite such stipulation and agreement, which had been in place since

October 21, 2016, at approximately 1:00 p.m. on January 3, 2017, Defendants and Third-

Party Defendants, for the first time, advised they did not wish to ask any further questions

of Mr. Souers. Defendants and Third-Party Defendants thereby effectively “passed the
12
   Ex. 1, 190:22-191:22.
13
   Ex. 1, 217:9-11.
14
   Exhibit “6” (H. Nichols letter of November 23, 2016).
15
   Exhibit “7” (Email string among counsel of December 9–12, 2016).


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witness” on January 3, 2017. Plaintiffs advised all parties that Plaintiffs would proceed

with the continuation and conclusion of Mr. Souers’ deposition as previously scheduled

by agreement, for January 5, 2017 at 10:00 a.m.16

       On January 4, 2017, Third-Party Defendants filed a motion to stay the conclusion

of Mr. Souers’ deposition, wrongly characterizing it as a re-deposition requiring leave of

Court under Fed. R. Civ. P. 30(a)(2)(A)(ii).17 Plaintiffs had no meaningful opportunity to

file a written response.

       In their Joint Motion, Defendants and Third-Party Defendants erroneously and

disingenuously told this Court that “Largely because of this dispute [over document

issues], the deposition ended early by agreement.”18 However, what they neglected to

advise the Court was that neither Defendants nor Third-Party Defendants served a

document subpoena or otherwise properly requested Souers’ documents before the

deposition, which had been scheduled by agreement for almost a month.19

       In a phone conference with the Court on the morning of January 5, 2017, the

Court, presented with Defendants’ and Third-Party Defendants’ inaccurate portrayal of

the events leading to the adjournment of Mr. Souers’ deposition, stayed the deposition

and directed Plaintiffs to file a motion if they wished to further pursue completion of Mr.


16
   Exhibit “8” (R. Fields letter of January 4, 2017).
17
   Dkt. # 398 (“Joint Motion”), p 5.
18
   Dkt. # 398, p. 3, ¶ 4.
19
   Ex. 1, 158:15-160:6. On August 12, 2016, Plaintiffs voluntarily produced Mr. Souers’ file with
his expert report. The Notice issued by CMC and AJU two days before Mr. Souers’ deposition
was not a proper or valid Document Subpoena. Notwithstanding CMC/AJU’s failure to timely
issue or serve a valid Document Subpoena, Plaintiffs voluntarily supplemented Mr. Souers’
original voluntary production of his expert file. Ex. 1, 162:21-164:3.


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Souers’ deposition. The Court also commented that, absent continuation of the

deposition, Mr. Souers would be available for examination and cross-examination at trial

on the matters Plaintiffs wished to address in deposition cross-examination.

       Plaintiffs determined not to seek leave to conduct cross-examination of Mr. Souers

in advance of trial. Mr. Souers properly, timely, and as instructed in accordance with the

Rule 30(e) Stipulation, submitted his errata sheet on January 13, 2017.

                          ARGUMENT AND AUTHORITIES

       The plain language of Fed. R. Civ. P. 30(e) allows a deponent to make changes “in

form or substance” on a deposition errata sheet. Fed. R. Civ. P. 30(e). Without objection

from any party, at the beginning of Mr. Souers’ deposition, Third-Party Defendants’

counsel made the Rule 30(e) Stipulation, which adheres faithfully to the plain language of

the rule:

       The court reporter is taking down everything that's said today, and at some
       point you probably have seen in the past you'll get a booklet, and you'll
       have an opportunity for your reading enjoyment to go through it. At that
       point you can make any changes you wish to the transcript, but I need
       to caution you that you should give your best testimony today. If there's
       any substantive changes you make to the transcript, for instance,
       change the light was red to the light was green could be commented
       upon by myself or any other attorney in this case in an attempt to
       impugn your credibility. Do you understand that?

Ex. 1, 10:10-24. Their attempt to change the Rule 30(e) Stipulation after the fact should

be rejected.

       Defendants and Third-Party Defendants now attempt to retract their own Rule

30(e) Stipulation and ask the Court to apply an incomplete and inaccurate version of the




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Tenth Circuit’s more exacting standard. However, even under the Tenth Circuit’s

standard, the errata changes in this case are proper. The Motion should be denied.

                                   I.
                 MR. SOUERS’ DEPOSITION WAS CONDUCTED
                  UNDER THE MAJORITY RULE ALLOWING
                SUBSTANTIVE CHANGES IN AN ERRATA SHEET

       Under Fed. R. Civ. P. 29, parties may stipulate to the manner of taking depositions

and “other procedures governing or limiting discovery” unless it interferes with “the time

set for completing discovery, for hearing a motion, or for trial. Fed. R. Civ. P. 29; see,

also, U.S. v. Mezzanatto, 513 U.S. 196 (1995) (“Rather than deeming waiver

presumptively unavailable absent some sort of express enabling clause, we instead have

adhered to the opposite presumption.”); Peretz v. United States, 501 U.S. 923, 936 (1991)

(“A party may waive any provision, either of a contract or of a statute, intended for his

benefit.”). There is nothing in Fed. R. Civ. P. 30(e) to indicate that the parties cannot alter

its terms by agreement. Indeed, agreed extensions of the time for returning an errata sheet

under Rule 30(e) are commonplace.

       In Wells Fargo Bank, N.A. v. LaSalle Nat’l Bank Ass’n, Case No. 5:08-cv-01125-

C, Dkt. #335 (W.D. Okla. 2011) (copy attached), Judge Cauthron considered whether the

parties had reached an agreement to extend the deadline for return of an errata sheet

under Rule 30(e). Judge Cauthron found that language less precise than the Rule 30(e)

Stipulation created such an agreement. Refusing to strike the errata sheet, Judge Cauthron

also summarily rejected arguments that the substantive changes in the errata sheet

required it to be stricken. Judge Cauthron held, “Any further objections Plaintiff’s



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counsel may have to Mr. Dwyer’s errata sheet may be raised on cross examination and go

towards the weight given that testimony by the trier of fact.”

       The same result is required here. Opposing counsel made the Rule 30(e)

Stipulation for the conduct of Mr. Souers’ deposition and the return of his errata sheet.

Opposing counsel expressly instructed the witness that he could make any changes he

wished—specifically including substantive changes—subject to the risk of having his

credibility attacked. Accordingly, the deposition proceeded under the Rule 30(e)

Stipulation and the plain language of Rule 30(e).

       As the Court noted in the January 5, 2017 telephonic conference, the other side is

free to point out the clarification and can attempt to impugn Mr. Souers’ credibility over

the different information in the Post Frac Daily Report and the Casing Tally. The jury

will be able to see the original deposition testimony as well as the errata sheet, and Mr.

Souers will be subject to examination regarding the differences in his testimony. No

further relief or remedy is necessary or appropriate.

       The errata sheet should not be stricken. The Motion should be denied.

                                II.
                 THE ERRATA SHEET IS PROPER UNDER
           THE STANDARD APPLICABLE IN THE TENTH CIRCUIT

       The Tenth Circuit applies the “sham affidavit” standard to determine whether

errata sheet changes are proper or improper. Even under this standard, Mr. Souers’ errata

sheet should not be stricken.




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      The Motion does not accurately state the Tenth Circuit’s minority interpretation of

Rule 30(e). The Motion relies on dicta contained in a footnote in Garcia v. Pueblo

Country Club, 299 F.3d 1233 (10th Cir. 2002). In Garcia, the Tenth Circuit reversed an

order granting summary judgment in favor of an employer, finding questions of fact. By

footnote, the Tenth Circuit was critical of the employer’s attempt to establish

undisputed facts using an errata sheet which “strayed substantively from the original

testimony.” Id. at 1242 n. 5 (emphasis added). Those are not the facts here.

      One year after Garcia, in Burns v. Board of County Commissioners of Jackson

County, 330 F.3d 1275 (10th Cir. 2003), the Tenth Circuit affirmed the District Court’s

rejection of plaintiff’s errata sheet changes, which attempted to create material questions

of fact to defeat summary judgment, and then granted summary judgment to the

defendant. The Tenth Circuit held that alterations must be material and must be examined

under the “sham affidavit” test of Franks v. Nimmo, 796 F.2d 1230 (10th Cir. 1986).

      Mr. Souers’ reference to complete “data” does not make the errata sheet a “sham

affidavit” under Franks. The Motion should therefore be denied.

A.    The Clarification Is Not A “Sham Affidavit”

      The very first factor of the sham affidavit test is absent in this case. Burns at 1282

(first factor is whether deponent was cross-examined at deposition). Plaintiffs were

deprived of the right to cross-examine Mr. Souers. During cross-examination, Mr. Souers

would have been asked whether the Casing Tally data indicated a failure in the body of

casing joint 105 in the Robison. He would have been asked whether differentiating the




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coupling from the casing joint body would change: (1) his opinions ruling out drilling,

completion operations and environmental issues as possible causes of the failures; (2) his

opinions regarding repair and remediation costs; or (3) his opinion about loss of

hydrocarbon bearing strata. Plaintiffs’ counsel would have cross-examined Mr. Souers if

Defendants’ and Third-Party Defendants’ counsel had passed the witness on October 21,

2016.

         Plaintiffs’ counsel agreed to accommodate the demands of Defendants’ and Third-

Party Defendants’ counsels’ request to adjourn and reconvene Mr. Souers’ deposition

upon specific conditions. Defendants and Third-Party Defendants now seek to use that

accommodation as a sword against Plaintiffs, but such gamesmanship cannot succeed. In

both Franks and Burns, the witness was cross-examined at his deposition. By unilaterally

declaring two days beforehand that Mr. Souers’ deposition would not reconvene on

January 5, 2017, as agreed, Plaintiffs here were deprived of that right.

         Where a party is deprived of the right to cross-examine, the errata sheet cannot be

rejected under the sham affidavit analysis. The Motion should be denied.

B.       The Cases Rejecting Errata Sheet Changes Are Factually Inapposite

         All of the cases striking or disregarding an errata sheet do so where testimony was

changed to defeat a dispositive motion. Those are not the facts here. See Proposition

II(A).

         None of the cases disallowing errata sheet changes did so on the basis urged by

Defendants and Third-Party Defendants—that the change is intended to eliminate




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contradictions between two experts testifying on the Plaintiffs’ behalf. Motion at 3, ¶ 10.

See BancFirst ex rel. Estate of M.J.H. v. Ford Motor Co., 422 Fed.Appx. 663 (10th Cir.

2011) (expert’s errata offered in opposition to motion for summary judgment); Burns

(attempted use of errata to defeat motion for summary judgment); Franks (attempted use

of sham affidavit to defeat motion for summary judgment), Garcia (attempted use of

contradictory errata in support of motion for summary judgment). Significantly, each of

the cases involved changes offered only after a dispositive motion was pending. Those

are not the facts here. Mr. Souers’ errata sheet was not made in response to any pending

dispositive or other substantive motion.

       Mr. Souers’ errata sheet clarifies that there is more precise data in the Robison

Casing Tally indicating a failure in the casing body, not the coupling. Defendants have

made no effort to demonstrate harm or prejudice of any kind, much less the type of

prejudice shown in the cited cases. In those cases, the errata sheet change was needed to

resurrect a case. Those are not the circumstances here. The Motion should be denied.

                                    CONCLUSION

       Mr. Souers’ errata sheet is proper under the Rule 30(e) Stipulation and the plain

language of Rule 30(e). The errata sheet is not a “sham affidavit.” The errata sheet was

not submitted after or in response to any dispositive or other substantive motion.

Plaintiffs were deprived of their right to cross-examination. Defendants and Third-Party

Defendants can examine Mr. Souers at trial regarding his clarification and corrections in

his errata sheet. Third-Party Defendants’ Motion should be denied.




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                            Respectfully submitted,
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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of February 2017, I electronically filed a true
and correct copy of the above and foregoing document and served the same upon all
parties of record via the Court’s ECF system.

                                          /s/ Robin Fields
                                          Robin F. Fields




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